[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The court, having reviewed the defendants request for return of seized property, finds the following:
The State of Connecticut, under the present statutory scheme, has exempted from the definition of fireworks certain sparkler" type devices. In reviewing the legislative history of General Statutes §29-357, it appears that the legislature intended to exempt sparkler devices, tube or wire type, that did not contain more than 100 grams of pyrotechnic mixture and are non explosive and non areal.
Accordingly, the items in inventory complying with these restrictions were not offered for sale in violation of any criminal law.
Therefore, all those items are required, by the provision of General Statutes § 54-339, to be returned to the rightful owner.
All items in inventory complying with said restrictions are ordered returned to rightful owner.
The defendant has agreed that item A-6 contains more than the allowable pyrotechnic material and accordingly makes no claim for its return.
Item A-6 may be destroyed.
Kocay, J.